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       287.   Denies knowledge or information sufficient to form a belief as to the truth of the

allegations set forth in numbered paragraph 287 of the AMCC.

       288.   Denies knowledge or information sufficient to form a belief as to the truth of the

allegations set forth in numbered paragraph 288 of the AMCC.

       289.   Denies knowledge or information sufficient to form a belief as to the truth of the

allegations set forth in numbered paragraph 289 of the AMCC.

       290.   Denies knowledge or information sufficient to form a belief as to the truth of the

allegations set forth in numbered paragraph 290 of the AMCC.

       291.   Denies knowledge or information sufficient to form a belief as to the truth of the

allegations set forth in numbered paragraph 291 of the AMCC.

       292.   Denies knowledge or information sufficient to form a belief as to the truth of the

allegations set forth in numbered paragraph 292 of the AMCC.

       293.   Denies knowledge or information sufficient to form a belief as to the truth of the

allegations set forth in numbered paragraph 293 of the AMCC.

       294.   Denies knowledge or information sufficient to form a belief as to the truth of the

allegations set forth in numbered paragraph 294 of the AMCC.

       295.   Denies knowledge or information sufficient to form a belief as to the truth of the

allegations set forth in numbered paragraph 295 of the AMCC.

       296.   Denies knowledge or information sufficient to form a belief as to the truth of the

allegations set forth in numbered paragraph 296 of the AMCC.

       297.   Denies knowledge or information sufficient to form a belief as to the truth of the

allegations set forth in numbered paragraph 297 of the AMCC.




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       298.   Denies knowledge or information sufficient to form a belief as to the truth of the

allegations set forth in numbered paragraph 298 of the AMCC.

       299.   Denies knowledge or information sufficient to form a belief as to the truth of the

allegations set forth in numbered paragraph 299 of the AMCC.

       300.   Denies knowledge or information sufficient to form a belief as to the truth of the

allegations set forth in numbered paragraph 300 of the AMCC.

       301.   Denies knowledge or information sufficient to form a belief as to the truth of the

allegations set forth in numbered paragraph 301 of the AMCC.

       302.   Denies knowledge or information sufficient to form a belief as to the truth of the

allegations set forth in numbered paragraph 302 of the AMCC.

       303.   Denies knowledge or information sufficient to form a belief as to the truth of the

allegations set forth in numbered paragraph 303 of the AMCC.

       304.   Denies knowledge or information sufficient to form a belief as to the truth of the

allegations set forth in numbered paragraph 304 of the AMCC.

       305.   Denies knowledge or information sufficient to form a belief as to the truth of the

allegations set forth in numbered paragraph 305 of the AMCC.

       306.   Denies knowledge or information sufficient to form a belief as to the truth of the

allegations set forth in numbered paragraph 306 of the AMCC.

       307.   Denies knowledge or information sufficient to form a belief as to the truth of the

allegations set forth in numbered paragraph 307 of the AMCC.

       308.   Denies knowledge or information sufficient to form a belief as to the truth of the

allegations set forth in numbered paragraph 308 of the AMCC.




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       309.   Denies knowledge or information sufficient to form a belief as to the truth of the

allegations set forth in numbered paragraph 309 of the AMCC.

       310.   Denies knowledge or information sufficient to form a belief as to the truth of the

allegations set forth in numbered paragraph 310 of the AMCC.

       311.   Denies knowledge or information sufficient to form a belief as to the truth of the

allegations set forth in numbered paragraph 311 of the AMCC.

       312.   Denies knowledge or information sufficient to form a belief as to the truth of the

allegations set forth in numbered paragraph 312 of the AMCC.

       313.   Denies knowledge or information sufficient to form a belief as to the truth of the

allegations set forth in numbered paragraph 313 of the AMCC.

       314.   Denies knowledge or information sufficient to form a belief as to the truth of the

allegations set forth in numbered paragraph 314 of the AMCC.

       315.   Denies knowledge or information sufficient to form a belief as to the truth of the

allegations set forth in numbered paragraph 315 of the AMCC.

       316.   Denies knowledge or information sufficient to form a belief as to the truth of the

allegations set forth in numbered paragraph 316 of the AMCC.

       317.   Denies knowledge or information sufficient to form a belief as to the truth of the

allegations set forth in numbered paragraph 317 and subparagraphs 317 (a)-(b) of the AMCC.

       318.   Denies knowledge or information sufficient to form a belief as to the truth of the

allegations set forth in numbered paragraph 318 of the AMCC.

       319.   Denies knowledge or information sufficient to form a belief as to the truth of the

allegations set forth in numbered paragraph 319 of the AMCC.




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       320.   Denies knowledge or information sufficient to form a belief as to the truth of the

allegations set forth in numbered paragraph 320 and subparagraphs 320 (a)-(b) of the AMCC.

       321.   Denies knowledge or information sufficient to form a belief as to the truth of the

allegations set forth in numbered paragraph 321 of the AMCC.

       322.   Denies knowledge or information sufficient to form a belief as to the truth of the

allegations set forth in numbered paragraph 322 of the AMCC.

       323.   Denies knowledge or information sufficient to form a belief as to the truth of the

allegations set forth in numbered paragraph 323 of the AMCC.

       324.   Denies knowledge or information sufficient to form a belief as to the truth of the

allegatio ns set forth in numbered paragraph 324 of the AMCC.

       325.   Denies knowledge or information sufficient to form a belief as to the truth of the

allegations set forth in numbered paragraph 325 of the AMCC.

       326.   Denies knowledge or information sufficient to form a belief as to the truth of the

allegations set forth in numbered paragraph 326 of the AMCC.

       327.   Denies knowledge or information sufficient to form a belief as to the truth of the

allegations set forth in numbered paragraph 327 of the AMCC.

       328.   Denies knowledge or information sufficient to form a belief as to the truth of the

allegations set forth in numbered paragraph 328 of the AMCC.

       329.   Denies knowledge or information sufficient to form a belief as to the truth of the

allegations set forth in numbered paragraph 329 of the AMCC.

       330.   Denies knowledge or information sufficient to form a belief as to the truth of the

allegations set forth in numbered paragraph 330 of the AMCC.




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       331.   Denies knowledge or information sufficient to form a belief as to the truth of the

allegations set forth in numbered paragraph 331 of the AMCC.

       332.   Denies knowledge or information sufficient to form a belief as to the truth of the

allegations set forth in numbered paragraph 332 of the AMCC.

       333.   Denies knowledge or information sufficient to form a belief as to the truth of the

allegations set forth in numbered paragraph 333 of the AMCC.

       334.   Denies knowledge or information sufficient to form a belief as to the truth of the

allegations set forth in numbered paragraph 334 of the AMCC.

       335.   Denies knowledge or information sufficient to form a belief as to the truth of the

allegations set forth in numbered paragraph 335 of the AMCC.

       336.   Denies knowledge or information sufficient to form a belief as to the truth of the

allegations set forth in numbered paragraph 336 of the AMCC.

       337.   Denies knowledge or information sufficient to form a belief as to the truth of the

allegations set forth in numbered paragraph 337 of the AMCC.

       338.   Denies knowledge or information sufficient to form a belief as to the truth of the

allegations set forth in numbered paragraph 338 of the AMCC.

       339.   Denies knowledge or information sufficient to form a belief as to the truth of the

allegations set forth in numbered paragraph 339 of the AMCC.

       340.   Denies knowledge or information sufficient to form a belief as to the truth of the

allegatio ns set forth in numbered paragraph 340 of the AMCC.

       341.   Denies knowledge or information sufficient to form a belief as to the truth of the

allegations set forth in numbered paragraph 341 of the AMCC.




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       342.   Denies knowledge or information sufficient to form a belief as to the truth of the

allegations set forth in numbered paragraph 342 of the AMCC.

       343.   Denies knowledge or information sufficient to form a belief as to the truth of the

allegations set forth in numbered paragraph 343 of the AMCC.

       344.   Denies knowledge or information sufficient to form a belief as to the truth of the

allegations set forth in numbered paragraph 344 of the AMCC.

       345.   Denies knowledge or information sufficient to form a belief as to the truth of the

allegations set forth in numbered paragraph 345 and subparagraphs 345 (a)-(b) of the AMCC.

       346.   Denies knowledge or information sufficient to form a belief as to the truth of the

allegations set forth in numbered paragraph 346 of the AMCC.

       347.   Denies knowledge or information sufficient to form a belief as to the truth of the

allegations set forth in numbered paragraph 347 of the AMCC.

       348.   Denies knowledge or information sufficient to form a belief as to the truth of the

allegations set forth in numbered paragraph 348 of the AMCC.

       349.   Denies knowledge or information sufficient to form a belief as to the truth of the

allegations set forth in numbered paragraph 349 of the AMCC.

       350.   Denies knowledge or information sufficient to form a belief as to the truth of the

allegations set forth in numbered paragraph 350 of the AMCC.

       351.   Denies knowledge or information sufficient to form a belief as to the truth of the

allegations set forth in numbered paragraph 351 of the AMCC.

       352.   Denies knowledge or information sufficient to form a belief as to the truth of the

allegations set forth in numbered paragraph 352 of the AMCC.




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       353.   Denies knowledge or information sufficient to form a belief as to the truth of the

allegations set forth in numbered paragraph 353 of the AMCC.

       354.   Denies knowledge or information sufficient to form a belief as to the truth of the

allegations set forth in numbered paragraph 354 and subparagraphs 354 (a)-(b) of the AMCC.

       355.   Denies knowledge or information sufficient to form a belief as to the truth of the

allegations set forth in numbered paragraph 355 and subparagraphs 355 (a)-(b) of the AMCC.

       356.   Denies knowledge or information sufficient to form a belief as to the truth of the

allegations set forth in numbered paragraph 356 of the AMCC.

       357.   Denies knowledge or information sufficient to form a belief as to the truth of the

allegations set forth in numbered paragraph 357 of the AMCC.

       358.   Denies knowledge or information sufficient to form a belief as to the truth of the

allegations set forth in numbered paragraph 358 of the AMCC.

       359.   Denies knowledge or information sufficient to form a belief as to the truth of the

allegations set forth in numbered paragraph 359 of the AMCC.

       360.   Denies knowledge or information sufficient to form a belief as to the truth of the

allegations set forth in numbered paragraph 360 of the AMCC.

       361.   Denies knowledge or information sufficient to form a belief as to the truth of the

allegations set forth in numbered paragraph 361 of the AMCC.

       362.   Denies knowledge or information sufficient to form a belief as to the truth of the

allegations set forth in numbered paragraph 362 of the AMCC.

       15.    Denies knowledge or information sufficient to form a belief as to the truth of the

allegations set forth in the second numbered paragraph 15 of the AMCC.




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       363.   Denies knowledge or information sufficient to form a belief as to the truth of the

allegations set forth in numbered paragraph 363 of the AMCC.

       364.   Denies knowledge or information sufficient to form a belief as to the truth of the

allegations set forth in numbered paragraph 364 of the AMCC.

       365.   Denies knowledge or information sufficient to form a belief as to the truth of the

allegations set forth in numbered paragraph 365 of the AMCC.

       366.   Denies knowledge or information sufficient to form a belief as to the truth of the

allegations set forth in numbered paragraph 366 of the AMCC.

       367.   Denies knowledge or information sufficient to form a belief as to the truth of the

allegations set forth in numbered paragraph 367 of the AMCC.

       368.   Denies knowledge or information sufficient to form a belief as to the truth of the

allegations set forth in numbered paragraph 368 of the AMCC.

       369.   Denies knowledge or information sufficient to form a belief as to the truth of the

allegations set forth in numbered paragraph 369 of the AMCC.

       370.   Denies knowledge or information sufficient to form a belief as to the truth of the

allegations set forth in numbered paragraph 370 of the AMCC.

       371.   Denies knowledge or information sufficient to form a belief as to the truth of the

allegations set forth in numbered paragraph 371 of the AMCC.

       372.   Denies knowledge or information sufficient to form a belief as to the truth of the

allegations set forth in numbered paragraph 372 of the AMCC.

       373.   Denies knowledge or information sufficient to form a belief as to the truth of the

allegations set forth in numbered paragraph 373 of the AMCC.




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       374.   Denies knowledge or information sufficient to form a belief as to the truth of the

allegations set forth in numbered paragraph 374 of the AMCC.

       375.   Denies knowledge or information sufficient to form a belief as to the truth of the

allegations set forth in numbered paragraph 375 of the AMCC.

       376.   Denies knowledge or information sufficient to form a belief as to the truth of the

allegations set forth in numbered paragraph 376 of the AMCC.

       377.   Denies knowledge or information sufficient to form a belief as to the truth of the

allegations set forth in numbered paragraph 377 of the AMCC.

       378.   Denies knowledge or information sufficient to form a belief as to the truth of the

allegations set forth in numbered paragraph 378 of the AMCC.

       379.   Denies knowledge or information sufficient to form a belief as to the truth of the

allegations set forth in numbered paragraph 379 of the AMCC.

       380.   Denies knowledge or information sufficient to form a belief as to the truth of the

allegations set forth in numbered paragraph 380 and subparagraphs 380 (a)-(b) of the AMCC.

       381.   Denies knowledge or information sufficient to form a belief as to the truth of the

allegations set forth in numbered paragraph 381 of the AMCC.

       382.   Denies knowledge or information sufficient to form a belief as to the truth of the

allegations set forth in numbered paragraph 382 of the AMCC.

       383.   Denies knowledge or information sufficient to form a belief as to the truth of the

allegations set forth in numbered paragraph 383 of the AMCC.

       384.   Denies knowledge or information sufficient to form a belief as to the truth of the

allegations set forth in numbered paragraph 384 of the AMCC.




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       385.   Denies knowledge or information sufficient to form a belief as to the truth of the

allegations set forth in numbered paragraph 385 of the AMCC.

       386.   Denies knowledge or information sufficient to form a belief as to the truth of the

allegations set forth in numbered paragraph 386 of the AMCC.

       387.   Denies knowledge or information sufficient to form a belief as to the truth of the

allegations set forth in numbered paragraph 387 of the AMCC.

       388.   Denies knowledge or information sufficient to form a belief as to the truth of the

allegations set forth in numbered paragraph 388 of the AMCC.

       389.   Denies knowledge or information sufficient to form a belief as to the truth of the

allegations set forth in numbered paragraph 389 of the AMCC.

       390.   Denies knowledge or information sufficient to form a belief as to the truth of the

allegations set forth in numbered paragraph 390 of the AMCC.

       391.   Denies knowledge or information sufficient to form a belief as to the truth of the

allegations set forth in numbered paragraph 391 of the AMCC.

       392.   Denies knowledge or information sufficient to form a belief as to the truth of the

allegations set forth in numbered paragraph 392 of the AMCC.

       393.   Denies knowledge or information sufficient to form a belief as to the truth of the

allegations set forth in numbered paragraph 393 of the AMCC.

       394.   Denies knowledge or information sufficient to form a belief as to the truth of the

allegations set forth in numbered paragraph 394 of the AMCC.

       395.   Denies knowledge or information sufficient to form a belief as to the truth of the

allegations set forth in numbered paragraph 395 of the AMCC.




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       396.   Denies knowledge or information sufficient to form a belief as to the truth of the

allegations set forth in numbered paragraph 396 of the AMCC.

       397.   Denies knowledge or information sufficient to form a belief as to the truth of the

allegations set forth in numbered paragraph 397 of the AMCC.

       398.   Denies knowledge or information sufficient to form a belief as to the truth of the

allegations set forth in numbered paragraph 398 of the AMCC.

       399.   Denies knowledge or information sufficient to form a belief as to the truth of the

allegations set forth in numbered paragraph 399 of the AMCC.

       400.   Denies knowledge or information sufficient to form a belief as to the truth of the

allegations set forth in numbered paragraph 400 of the AMCC.

       401.   Denies knowledge or information sufficient to form a belief as to the truth of the

allegations set forth in numbered paragraph 401 of the AMCC.

       402.   Denies knowledge or information sufficient to form a belief as to the truth of the

allegations set forth in numbered paragraph 402 of the AMCC.

       403.   Denies knowledge or information sufficient to form a belief as to the truth of the

allegations set forth in numbered paragraph 403 of the AMCC.

       404.   Denies knowledge or information sufficient to form a belief as to the truth of the

allegations set forth in numbered paragraph 404 of the AMCC.

       405.   Denies knowledge or information sufficient to form a belief as to the truth of the

allegations set forth in numbered paragraph 405 of the AMCC.

       406.   Denies knowledge or information sufficient to form a belief as to the truth of the

allegations set forth in numbered paragraph 406 of the AMCC.




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       407.   Denies knowledge or information sufficient to form a belief as to the truth of the

allegations set forth in numbered paragraph 407 of the AMCC.

       408.   Denies knowledge or information sufficient to form a belief as to the truth of the

allegations set forth in numbered paragraph 408 of the AMCC.

       409.   Denies knowledge or information sufficient to form a belief as to the truth of the

allegations set forth in numbered paragraph 409 of the AMCC.

       410.   Denies knowledge or information sufficient to form a belief as to the truth of the

allegations set forth in numbered paragraph 410 of the AMCC.

       411.   Denies knowledge or information sufficient to form a belief as to the truth of the

allegations set forth in numbered paragraph 411 of the AMCC.

       412.   Denies knowledge or information sufficient to form a belief as to the truth of the

allegations set forth in numbered paragraph 412 of the AMCC.

       413.   Denies knowledge or information sufficient to form a belief as to the truth of the

allegations set forth in numbered paragraph 413 of the AMCC.

       414.   Denies knowledge or information sufficient to form a belief as to the truth of the

allegations set forth in numbered paragraph 414 of the AMCC.

       415.   Denies knowledge or information sufficient to form a belief as to the truth of the

allegations set forth in numbered paragraph 415 of the AMCC.

       416.   Denies knowledge or information sufficient to form a belief as to the truth of the

allegations set forth in numbered paragraph 416 of the AMCC.

       417.   Denies knowledge or information sufficient to form a belief as to the truth of the

allegations set forth in numbered paragraph 417 of the AMCC.




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       418.   Denies knowledge or information sufficient to form a belief as to the truth of the

allegations set forth in numbered paragraph 418 of the AMCC.

       419.   Denies knowledge or information sufficient to form a belief as to the truth of the

allegations set forth in numbered paragraph 419 of the AMCC.

       420.   Denies knowledge or information sufficient to form a belief as to the truth of the

allegations set forth in numbered paragraph 420 of the AMCC.

       421.   Denies knowledge or information sufficient to form a belief as to the truth of the

allegations set forth in numbered paragraph 421 of the AMCC.

       422.   Denies knowledge or information sufficient to form a belief as to the truth of the

allegations set forth in numbered paragraph 422 of the AMCC.

       423.   Denies knowledge or information sufficient to form a belief as to the truth of the

allegations set forth in numbered paragraph 423 of the AMCC.

       424.   Denies knowledge or information sufficient to form a belief as to the truth of the

allegations set forth in numbered paragraph 424 of the AMCC.

       425.   Denies knowledge or information sufficient to form a belief as to the truth of the

allegations set forth in numbered paragraph 425 of the AMCC.

       426.   Denies knowledge or information sufficient to form a belief as to the truth of the

allegations set forth in numbered paragraph 426 and subparagraphs 426 (a)-(b) of the AMCC.

       427.   Denies knowledge or information sufficient to form a belief as to the truth of the

allegations set forth in numbered paragraph 427 and subparagraphs 427 (a)-(b) of the AMCC.

       428.   Denies knowledge or information sufficient to form a belief as to the truth of the

allegations set forth in numbered paragraph 428 of the AMCC.




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       429.   Denies knowledge or information sufficient to form a belief as to the truth of the

allegations set forth in numbered paragraph 429 of the AMCC.

       430.   Denies knowledge or information sufficient to form a belief as to the truth of the

allegations set forth in numbered paragraph 430 of the AMCC.

       431.   Denies knowledge or information sufficient to form a belief as to the truth of the

allegations set forth in numbered paragraph 431 of the AMCC.

       432.   Denies knowledge or information sufficient to form a belief as to the truth of the

allegations set forth in numbered paragraph 432 of the AMCC.

       433.   Denies knowledge or information sufficient to form a belief as to the truth of the

allegations set forth in numbered paragraph 433 of the AMCC.

       434.   Denies knowledge or information sufficient to form a belief as to the truth of the

allegations set forth in numbered paragraph 434 of the AMCC.

       435.   Denies knowledge or information sufficient to form a belief as to the truth of the

allegations set forth in numbered paragraph 435 of the AMCC.

       436.   Denies kno wledge or information sufficient to form a belief as to the truth of the

allegations set forth in numbered paragraph 436 of the AMCC.

       437.   Denies knowledge or information sufficient to form a belief as to the truth of the

allegations set forth in numbered paragraph 437 of the AMCC.

       438.   Denies knowledge or information sufficient to form a belief as to the truth of the

allegations set forth in numbered paragraph 438 of the AMCC.

       439.   Denies knowledge or information sufficient to form a belief as to the truth of the

allegations set forth in numbered paragraph 439 of the AMCC.




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       440.    Denies knowledge or information sufficient to form a belief as to the truth of the

allegations set forth in numbered paragraph 440 of the AMCC.

       441.    Denies knowledge or information sufficient to form a belief as to the truth of the

allegations set forth in numbered paragraph 441 of the AMCC.

       442.    Denies knowledge or information sufficient to form a belief as to the truth of the

allegations set forth in numbered paragraph 442 of the AMCC.

       443.    Denies knowledge or information sufficient to form a belief as to the truth of the

allegations set forth in numbered paragraph 443 of the AMCC.

       444.    Denies knowledge or information sufficient to form a belief as to the truth of the

allegations set forth in numbered paragraph 444 of the AMCC.

       445.    Denies knowledge or information sufficient to form a belief as to the truth of the

allegations set forth in numbered paragraph 445 of the AMCC.

       446.    Denies the allegations set forth in numbered paragraph 446 of the AMCC, except

admits that plaintiffs purport to seek relief as to the drugs set forth in Appendix A but denies that

there is any basis on which to permit them to do so.

       447.    Denies the allegations set forth in numbered paragraph 447 of the AMCC.

       448.    Denies the allegations set forth in numbered paragraph 448 of the AMCC.

       449.    Denies knowledge or information sufficient to form a belief as to the truth of the

allegations set forth in numbered paragraph 449 of the AMCC.

       450.    Denies knowledge or information sufficient to form a belief as to the truth of the

allegations set forth in numbered paragraph 450 of the AMCC.

       451.    Denies knowledge or information sufficient to form a belief as to the truth of the

allegations set forth in numbered paragraph 451 of the AMCC.




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       452.   Denies knowledge or information sufficient to form a belief as to the truth of the

allegations set forth in numbered paragraph 452 of the AMCC.

       453.   Denies knowledge or information sufficient to form a belief as to the truth of the

allegations set forth in numbered paragraph 453 of the AMCC.

       454.   Denies knowledge or information sufficient to form a belief as to the truth of the

allegations set forth in numbered paragraph 454 of the AMCC.

       455.   Denies knowledge or information sufficient to form a belief as to the truth of the

allegations set forth in numbered paragraph 455 of the AMCC.

       456.   Denies knowledge or information sufficient to form a belief as to the truth of the

allegations set forth in numbered paragraph 456 of the AMCC.

       457.   Denies knowledge or information sufficient to form a belief as to the truth of the

allegations set forth in numbered paragraph 457 of the AMCC.

       458.   Denies knowledge or information sufficient to form a belief as to the truth of the

allegations set forth in numbered paragraph 458 of the AMCC.

       459.   Denies knowledge or information sufficient to form a belief as to the truth of the

allegations set forth in numbered paragraph 459 of the AMCC.

       460.   Denies knowledge or information sufficient to form a belief as to the truth of the

allegations set forth in numbered paragraph 460 of the AMCC.

       461.   Denies knowledge or information sufficient to form a belief as to the truth of the

allegations set forth in numbered paragraph 461 of the AMCC.

       462.   Denies knowledge or information sufficient to form a belief as to the truth of the

allegations set forth in numbered paragraph 462 of the AMCC.




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       463.   Denies knowledge or information sufficient to form a belief as to the truth of the

allegations set forth in numbered paragraph 463 of the AMCC.

       464.   Denies knowledge or information sufficient to form a belief as to the truth of the

allegations set forth in numbered paragraph 464 of the AMCC.

       465.   Denies knowledge or information sufficient to form a belief as to the truth of the

allegations set forth in numbered paragraph 465 of the AMCC.

       466.   Denies knowledge or information sufficient to form a belief as to the truth of the

allegations set forth in numbered paragraph 466 of the AMCC.

       467.   Denies knowledge or information sufficient to form a belief as to the truth of the

allegations set forth in numbered paragraph 467 of the AMCC.

       468.   Denies knowledge or information sufficient to form a belief as to the truth of the

allegations set forth in numbered paragraph 468 of the AMCC.

       469.   Denies knowledge or information sufficient to form a belief as to the truth of the

allegations set forth in numbered paragraph 469 of the AMCC.

       470.   Denies knowledge or information sufficient to form a belief as to the truth of the

allegations set forth in numbered paragraph 470 of the AMCC.

       471.   Denies knowledge or information sufficient to form a belief as to the truth of the

allegations set forth in numbered paragraph 471 of the AMCC.

       472.   Denies knowledge or information sufficient to form a belief as to the truth of the

allegations set forth in numbered paragraph 472 of the AMCC.

       473.   Denies knowledge or information sufficient to form a belief as to the truth of the

allegations set forth in numbered paragraph 473 of the AMCC.




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       474.   Denies knowledge or information sufficient to form a belief as to the truth of the

allegations set forth in numbered paragraph 474 of the AMCC.

       475.   Denies knowledge or information sufficient to form a belief as to the truth of the

allegations set forth in numbered paragraph 475 of the AMCC.

       476.   Denies knowledge or information sufficient to form a belief as to the truth of the

allegations set forth in numbered paragraph 476 of the AMCC

       477.   Denies knowledge or information sufficient to form a belief as to the truth of the

allegations set forth in numbered paragraph 477 of the AMCC.

       478.   Denies knowledge or information sufficient to form a belief as to the truth of the

allegations set forth in numbered paragraph 478 of the AMCC.

       479.   Denies knowledge or information sufficient to form a belief as to the truth of the

allegations set forth in numbered paragraph 479 of the AMCC.

       480.   Denies knowledge or information sufficient to form a belief as to the truth of the

allegations set forth in numbered paragraph 480 of the AMCC.

       481.   Denies knowledge or information sufficient to form a belief as to the truth of the

allegations set forth in numbered paragraph 481 of the AMCC.

       482.   Denies knowledge or information sufficient to form a belief as to the truth of the

allegations set forth in numbered paragraph 482 of the AMCC.

       483.   Denies knowledge or information sufficient to form a belief as to the truth of the

allegations set forth in numbered paragraph 483 of the AMCC.

       484.   Denies knowledge or information sufficient to form a belief as to the truth of the

allegations set forth in numbered paragraph 484 of the AMCC.




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       485.   Denies knowledge or information sufficient to form a belief as to the truth of the

allegations set forth in numbered paragraph 485 of the AMCC.

       486.   Denies knowledge or information sufficient to form a belief as to the truth of the

allegations set forth in numbered paragraph 486 of the AMCC.

       487.   Denies knowledge or information sufficient to form a belief as to the truth of the

allegations set forth in numbered paragraph 487 of the AMCC.

       488.   Denies knowledge or information sufficient to form a belief as to the truth of the

allegations set forth in numbered paragraph 488 of the AMCC.

       489.   Denies knowledge or information sufficient to form a belief as to the truth of the

allegations set forth in numbered paragraph 489 of the AMCC.

       490.   Denies knowledge or information sufficient to form a belief as to the truth of the

allegations set forth in numbered paragraph 490 of the AMCC.

       491.   Denies knowledge or information sufficient to form a belief as to the truth of the

allegations set forth in numbered paragraph 491 of the AMCC.

       492.   Denies knowledge or information sufficient to form a belief as to the truth of the

allegations set forth in numbered paragraph 492 of the AMCC.

       493.   Denies knowledge or information sufficient to form a belief as to the truth of the

allegations set forth in numbered paragraph 493 of the AMCC.

       494.   Denies knowledge or information sufficient to form a belief as to the truth of the

allegations set forth in numbered paragraph 494 of the AMCC.

       495.   Denies knowledge or information sufficient to form a belief as to the truth of the

allegations set forth in numbered paragraph 495 of the AMCC.




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       496.   Denies knowledge or information sufficient to form a belief as to the truth of the

allegations set forth in numbered paragraph 496 of the AMCC.

       497.   Denies knowledge or information sufficient to form a belief as to the truth of the

allegations set forth in numbered paragraph 497 of the AMCC.

       498.   Denies knowledge or information sufficient to form a belief as to the truth of the

allegations set forth in numbered paragraph 498 of the AMCC.

       499.   Denies knowledge or information sufficient to form a belief as to the truth of the

allegations set forth in numbered paragraph 499 of the AMCC.

       500.   Denies knowledge or information sufficient to form a belief as to the truth of the

allegations set forth in numbered paragraph 500 of the AMCC.

       501.   Denies knowledge or information sufficient to form a belief as to the truth of the

allegations set forth in numbered paragraph 501 of the AMCC.

       502.   Denies knowledge or information sufficient to form a belief as to the truth of the

allegations set forth in numbered paragraph 502 of the AMCC.

       503.   Denies knowledge or information sufficient to form a belief as to the truth of the

allegations set forth in numbered paragraph 503 of the AMCC.

       504.   Denies knowledge or information sufficient to form a belief as to the truth of the

allegations set forth in numbered paragraph 504 of the AMCC.

       505.   Denies knowledge or information sufficient to form a belief as to the truth of the

allegations set forth in numbered paragraph 505 of the AMCC.

       506.   Denies knowledge or information sufficient to form a belief as to the truth of the

allegations set forth in numbered paragraph 506 of the AMCC.




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       507.   Denies knowledge or information sufficient to form a belief as to the truth of the

allegations set forth in numbered paragraph 507 of the AMCC.

       508.   Denies knowledge or information sufficient to form a belief as to the truth of the

allegations set forth in numbered paragraph 508 and subparagraphs 508 (a)-(f) of the AMCC.

       509.   Denies knowledge or information sufficient to form a belief as to the truth of the

allegations set forth in numbered paragraph 509 of the AMCC.

       510.   Denies knowledge or information sufficient to form a belief as to the truth of the

allegations set forth in numbered paragraph 510 of the AMCC.

       511.   Denies knowledge or information sufficient to form a belief as to the truth of the

allegations set forth in numbered paragraph 511 of the AMCC.

       512.   Denies knowledge or information sufficient to form a belief as to the truth of the

allegations set forth in numbered paragraph 512 of the AMCC.

       513.   Denies knowledge or information sufficient to form a belief as to the truth of the

allegations set forth in numbered paragraph 513 of the AMCC.

       514.   Denies knowledge or information sufficient to form a belief as to the truth of the

allegations set forth in numbered paragraph 514 of the AMCC.

       515.   Denies knowledge or information sufficient to form a belief as to the truth of the

allegations set forth in numbered paragraph 515 of the AMCC.

       516.   Denies knowledge or information sufficient to form a belief as to the truth of the

allegations set forth in numbered paragraph 516 of the AMCC.

       517.   Denies knowledge or information sufficient to form a belief as to the truth of the

allegations set forth in numbered paragraph 517 of the AMCC.




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       518.   Denies knowledge or information sufficient to form a belief as to the truth of the

allegations set forth in numbered paragraph 518 of the AMCC.

       519.   Denies knowledge or information sufficient to form a belief as to the truth of the

allegations set forth in numbered paragraph 519 of the AMCC.

       520.   Denies knowledge or information sufficient to form a belief as to the truth of the

allegations set forth in numbered paragraph 520 of the AMCC.

       521.   Denies knowledge or information sufficient to form a belief as to the truth of the

allegations set forth in numbered paragraph 521 of the AMCC.

       522.   Denies knowledge or information sufficient to form a belief as to the truth of the

allegations set forth in numbered paragraph 522 of the AMCC.

       523.   Denies knowledge or information sufficient to form a belief as to the truth of the

allegations set forth in numbered paragraph 523 of the AMCC.

       524.   Denies knowledge or information sufficient to form a belief as to the truth of the

allegations set forth in numbered paragraph 524 of the AMCC.

       525.   Denies knowledge or information sufficient to form a belief as to the truth of the

allegations set forth in numbered paragraph 525 of the AMCC.

       526.   Denies knowledge or information sufficient to form a belief as to the truth of the

allegations set forth in numbered paragraph 526 of the AMCC.

       527.   Denies knowledge or information sufficient to form a belief as to the truth of the

allegations set forth in numbered paragraph 527 of the AMCC.

       528.   Denies knowledge or information sufficient to form a belief as to the truth of the

allegations set forth in numbered paragraph 528 of the AMCC.




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       529.   Denies knowledge or information sufficient to form a belief as to the truth of the

allegations set forth in numbered paragraph 529 of the AMCC.

       530.   Denies knowledge or information sufficient to form a belief as to the truth of the

allegations set forth in numbered paragraph 530 of the AMCC.

       531.   Denies knowledge or information sufficient to form a belief as to the truth of the

allegations set forth in numbered paragraph 531 of the AMCC.

       532.   Denies knowledge or information sufficient to form a belief as to the truth of the

allegations set forth in numbered paragraph 532 of the AMCC.

       533.   Denies knowledge or information sufficient to form a belief as to the truth of the

allegations set forth in numbered paragraph 533 of the AMCC.

       534.   Denies knowledge or information sufficient to form a belief as to the truth of the

allegations set forth in numbered paragraph 534 of the AMCC.

       535.   Denies knowledge or information sufficient to form a belief as to the truth of the

allegations set forth in numbered paragraph 535 of the AMCC.

       536.   Denies knowledge or information sufficient to form a belief as to the truth of the

allegations set forth in numbered paragraph 536 of the AMCC.

       537.   Denies knowledge or information sufficient to form a belief as to the truth of the

allegations set forth in numbered paragraph 537 of the AMCC.

       538.   Denies knowledge or information sufficient to form a belief as to the truth of the

allegations set forth in numbered paragraph 538 of the AMCC.

       539.   Denies knowledge or information sufficient to form a belief as to the truth of the

allegations set forth in numbered paragraph 539 of the AMCC.




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        540.     Denies knowledge or information sufficient to form a belief as to the truth of the

allegations set forth in numbered paragraph 540 of the AMCC.

                    VI. DIRECT DAMAGE SUSTAINED BY PLAINTIFFS
                        AND THE MEMBERS OF THE AWP CLASS

        541.     Denies the allegations set forth in the second and third sentences of numbered

paragraph 541 of the AMCC as to Novartis and otherwise denies knowledge or information

sufficient to form a belief as to the truth of the allegations set forth therein.

                VII. CERTAIN DEFENDANTS USE AWP TO ENGAGE IN A
               SCHEME TO FIX PRICES – THE TOGETHER CARD SCHEME

        542.     Denies the allegations set forth in numbered paragraph 542 of the AMCC.

        543.     Denies the allegations set forth in numbered paragraph 543 of the AMCC.

        544.     Denies the allegations set forth in numbered paragraph 544 of the AMCC.

        545.     Denies the allegations set forth in numbered paragraph 545 of the AMCC.

        546.     Denies the allegations set forth in numbered paragraph 546 of the AMCC.

        547.     Denies knowledge or information sufficient to form a belief as to the truth of the

allegations set forth in numbered paragraph 547 of the AMCC.

        548.     Denies knowledge or information sufficient to form a belief as to the truth of the

allegations set forth in numbered paragraph 548 of the AMCC.

        549.     Denies knowledge or information sufficient to form a belief as to the truth of the

allegations set forth in numbered paragraph 549 of the AMCC.

        550.     Denies the allegations set forth in numbered paragraph 550 of the AMCC, except

admits that certain Defendants have introduced pharmaceutical discount cards to Medicare

beneficiaries.

        551.     Denies knowledge or information sufficient to form a belief as to the truth of the

allegations set forth in numbered paragraph 551 of the AMCC.


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        552.    Denies knowledge or information sufficient to form a belief as to the truth of the

allegations set forth in numbered paragraph 552 of the AMCC.

        553.    Denies knowledge or information sufficient to form a belief as to the truth of the

allegations set forth in numbered paragraph 553 of the AMCC.

        554.    Denies knowledge or information sufficient to form a belief as to the truth of the

allegations set forth in numbered paragraph 554 of the AMCC.

        555.    Denies knowledge or information sufficient to form a belief as to the truth of the

allegations set forth in numbered paragraph 555 of the AMCC.

        556.    Denies knowledge or information sufficient to form a belief as to the truth of the

allegations set forth in numbered paragraph 556 of the AMCC, except admits that plaintiffs

quote selectively from the Novartis web site which sets forth detailed information regarding the

Novartis Care Card.

        557.    Denies the allegations in numbered paragraph 557 of the AMCC, except admits

that Novartis launched its Care Card in November 2001 and that there are no fees to enroll or use

the Care Card and further states that the quoted language provides truthful information about the

Care Card.

        558.    Denies the allegations in numbered paragraph 558 of the AMCC, except admits

that the Care Card offers covered prescription medicines to patients with annual income of up to

$18,000 ($24,000 per couple) for a $12 flat fee per prescription and that individuals whose

annual income is between $18,000–28,000 ($24,000–38,000 per couple) receive 25-40% savings

off their usual retail price.

        559.    Denies the allegations set forth in numbered paragraph 559 of the AMCC, except

admits that eligible participants may apply for a Care Card from Novartis or their participating




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pharmacy, participants present their Care Card and prescription to a participating pharmacy,

Novartis paid participating pharmacies $5 per enrollee enrolled by that particular pharmacy as

indicated on the application, and that McKesson Health Solutions Arizona Inc. administers the

Care Card.

       560.    Denies the allegations set forth in numbered paragraph 560 of the AMCC, except

admits that, as of July 2002, Novartis distributed both Care Card and Together Rx Card

applications to applicants.

       561.    Admits that the language selectively quoted in numbered paragraph 561 of the

AMCC appears in context on Novartis’ web site and may appear in other materials providing

truthful information about the Together Rx program.

       562.    Admits as to the allegations set forth in numbered paragraph 562 of the AMCC

that, on April 10, 2002, a joint press release was issued announcing the formation of To gether

Rx, LLC and further respectfully refers the Court to the joint press release for a full and complete

reading of its contents.

       563.    Denies knowledge or information sufficient to form a belief as to the truth of the

allegations set forth in numbered paragraph 563 of the AMCC.

       564.    Denies knowledge or information sufficient to form a belief as to the allegations

set forth in numbered paragraph 564 of the AMCC and further respectfully refers the Court to the

cited article for a full and complete reading of its contents.

       565.    Denies knowledge or information sufficient to form a belief as to the truth of the

allegations set forth in numbered paragraph 565 of the AMCC.




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        566.    Denies the allegations set forth in numbered paragraph 566 of the AMCC, except

admits that the Together Card program provides savings to eligible Medicare enrollees and that

the current number of covered medicines exceeds 170.

        567.    Denies the allegations set forth in numbered paragraph 567 of the AMCC as to its

own products, except admits that, over the course of the Together Rx program, the drugs

manufactured or distributed by Novartis and covered by the Together Card program have

included Clozaril, CombiPatch, Comtan, Diovan, Diovan HCT, Elidel, Estraderm, Exelon,

Famvir, Femara, Focalin, Lamisil, Lescol/Lescol XL, Lotensin, Lotensin HCT, Miacalcin

Injection & Nasal Spray, Parlodel, Ritalin Hydrochloride, Ritalin LA, Starlix, Tegretol,

Tegretol-XR, Trileptal, Vivelle/Vivelle-Dot, and Zelnorm, and denies knowledge or information

sufficient to form a belief as to the truth of the allegations set forth as to the products of others.

        568.    Denies knowledge or information sufficient to form a belief as to the truth of the

allegations set forth in numbered paragraph 568 of the AMCC.

        569.    Denies knowledge or information sufficient to form a belief as to the truth of the

allegations set forth in numbered paragraph 569 of the AMCC.

        570.    Denies knowledge or information sufficient to form a belief as to the truth of the

allegations set forth in numbered paragraph 570 of the AMCC.

        571.    Denies knowledge or information sufficient to form a belief as to the truth of the

allegations set forth in numbered paragraph 571 of the AMCC.

        572.    Denies knowledge or information sufficient to form a belief as to the truth of the

allegations set forth in numbered paragraph 572 of the AMCC.

        573.    Denies knowledge or information sufficient to form a belief as to the truth of the

allegations set forth in numbered paragraph 573 of the AMCC.




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       574.    Denies the allegations set forth in numbered paragraph 574 of the AMCC, except

admits that, over the course of the Together Rx program, the drugs manufactured or distributed

by Novartis and covered by the Together Card program have included Clozaril, CombiPatch,

Comtan, Diovan, Diovan HCT, Elidel, Estraderm, Exelon, Famvir, Femara, Focalin, Lamisil,

Lescol/Lescol XL, Lotensin, Lotensin HCT, Miacalcin Injection & Nasal Spray, Parlodel, Ritalin

Hydrochloride, Ritalin LA, Starlix, Tegretol, Tegretol-XR, Trileptal, Vivelle/Vivelle-Dot, and

Zelnorm.

       575.    Denies knowledge or information sufficient to form a belief as to the truth of the

allegations set forth in numbered paragraph 575 of the AMCC.

       576.    Admits as to the allegations set forth in numbered paragraph 576 of the AMCC

that press releases have been issued regarding Together Rx and further respectfully refers the

Court to the press releases for a full and complete reading of their contents.

       577.    Admits as to the allegations set forth in numbered paragraph 577 of the AMCC

that press releases have been issued regarding Together Rx and further respectfully refers the

Court to the press releases for a full and complete reading of their contents.

       578.    Admits as to the allegations set forth in numbered paragraph 578 of the AMCC

that plaintiffs have quoted selective portions of text appearing on the Together Rx web site and

further respectfully refers the Court to the complete text for a full and complete reading of its

contents.

       579.    Admits as to the allegations set forth in numbered paragraph 579 of the AMCC

that, on April 10, 2002, a joint press release was issued announcing the formation of Together

Rx, LLC and that plaintiffs have quoted selective portions of text appearing on the Together Rx




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web site and further respectfully refers the Court to the complete texts for a full and complete

reading of their contents.

           580.   Admits as to the allegations set forth in numbered paragraph 580 of the AMCC

that press releases have been issued regarding Together Rx and further respectfully refers the

Court to the press releases for a full and complete reading of their contents, and otherwise denies

knowledge or information sufficient to form a belief as to the truth of the allegations set forth

therein.

           581.   Admits as to the allegations set forth in numbered paragraph 581 of the AMCC

that plaintiffs have quoted selective portions of text appearing on the Together Rx web site and

further respectfully refers the Court to the complete text for a full and complete reading of its

contents.

           582.   Admits as to the allegations set forth in numbered paragraph 582 of the AMCC

that plaintiffs have quoted selective portions of text appearing on the Together Rx web site and

further respectfully refers the Court to the complete text for a full and complete reading of its

contents.

           583.   Admits the allegations set forth in numbered paragraph 583 of the AMCC.

           584.   Denies the allegations set forth in numbered paragraph 584 of the AMCC.

           585.   Denies the allegations set forth in numbered paragraph 585 of the AMCC.

           586.   Denies the allegations set forth in numbered paragraph 586 of the AMCC.

           587.   Denies the allegations set forth in numbered paragraph 587 of the AMCC.

           588.   Denies the allegations set forth in numbered paragraph 588 of the AMCC.

           589.   Denies the allegations set forth in numbered paragraph 589 of the AMCC.

           590.   Denies the allegations set forth in numbered paragraph 590 of the AMCC.




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       591.    Denies the allegations set forth in numbered paragraph 591 of the AMCC.

       592.    Denies the allegations set forth in numbered paragraph 592 of the AMCC.

       593.    Denies the allegations set forth in numbered paragraph 593 of the AMCC.

       594.    Denies the allegations set forth in numbered paragraph 594 of the AMCC.

       VIII. CLASS ACTION ALLEGATIONS FOR THE AWP PAYOR SCHEME

       595.    Admits as to the allegations set forth in numbered paragraph 595 of the AMCC

that plaintiffs purport to bring this action as a class action on behalf of the described Classes but

denies that there is any basis on which to permit them to do so.

       596.    Admits as to the allegations set forth in numbered paragraph 596 of the AMCC

that plaintiffs allege the described Class Period.

       597.    Denies the allegations of numbered paragraph 597 of the AMCC.

       598.    Denies the allegations of numbered paragraph 598 of the AMCC.

       599.    Admits as to the allegations set forth in numbered paragraph 599 of the AMCC

that plaintiffs purport to be the Class representatives for the alleged Classes but denies that there

is any basis on which to permit them to do so.

       600.    Denies the allegations of numbered paragraph 600 of the AMCC.

       601.    Denies the allegations of numbered paragraph 601 and subparagraphs 601(a)-(n)

of the AMCC.

       602.    Denies the allegations of numbered paragraph 602 of the AMCC.

       603.    Denies the allegations of numbered paragraph 603 of the AMCC.

    IX. CLASS ACTION ALLEGATIONS FOR THE TOGETHER CARD SCHEME

       604.    Admits as to the allegations set forth in numbered paragraph 604 of the AMCC

that plaintiffs purport to bring this action as the described class action but denies that there is any

basis on which to permit them to do so.


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